







		NO. 12-09-00100-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




RICHARD HENDERSON,§
	APPEAL FROM THE 114TH

APPELLANT


V.§
	JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
	SMITH COUNTY, TEXAS





MEMORANDUM OPINION


PER CURIAM


	Appellant, Richard Henderson, pleaded guilty to delivery of a controlled substance.  His
sentence was imposed on October 1, 2007.  He filed a notice of appeal in this court, but the appeal
was dismissed because Appellant had waived his right to appeal.  See Henderson v. State, No. 12-07-00399-CR, 2007 WL 3173314 (Tex. App.-Tyler Oct. 31, 2007, no pet.).  Appellant filed a
second notice of appeal on March 30, 2009.

	On April 28, 2009, this court notified Appellant that the information received in this appeal
does not include a final judgment or other appealable order and therefore does not show the
jurisdiction of this court.  See Tex. R. App. P. 37.2.  Appellant was further notified that this appeal
would be dismissed unless the information was amended on or before May 8, 2009 to show the
jurisdiction of this court.  See Tex. R. App. P. 44.3.  Appellant responded, through his counsel of
record, that he cannot provide this court with any records showing that it has jurisdiction of this
appeal.  Because Appellant has not shown the jurisdiction of this court, the appeal is dismissed for
want of jurisdiction.  See Tex. R. App. P. 42.3(a).

Opinion delivered May 13, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.


(DO NOT PUBLISH)
	


